       Case 1:22-cv-04149-WMR Document 32 Filed 01/04/23 Page 1 of 1




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )    CIVIL ACTION NO.:
vs.                                 )    1:22-cv-04149-WMR
                                    )
FELICIA FRANKLIN, in her individual )    JURY TRIAL DEMANDED
and official capacities;            )
ALIEKA ANDERSON, in her individual)
and official capacities;            )
GAIL HAMBRICK, in her individual )
and official capacities; and        )
CLAYTON COUNTY, GEORGIA,            )
                                    )
                                    )
      Defendants.                   )

                                   ORDER

     This matter is before the Court on Plaintiff’s Consent Motion for an

Extension of Time to Respond to Defendant Alieka Anderson’s Motion for

Judgment on the Pleadings. Defendant Anderson having consented to it, and for

good cause shown, the Motion is GRANTED. Plaintiff’s deadline to respond to

Defendants’ Motion for Judgment on the Pleadings [Doc. 29] is extended to

January 12, 2023.
      IT IS SO ORDERED, this 4th
      day of January, 2023.
